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IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
FOR KING COUNTY

CITY OF SEATTLE, a municipal corporation,
Plaintiff,
Vv.
ADAMS RESIDENTIAL CONTRACTING
INC., a Washington corporation; and
MCDOWELL NORTHWEST PILE KING,
INC., a Washington corporation.

Defendants.

 

 

 

 

No. = 19-2-21001-0 SEA

COMPLAINT FOR DAMAGES

I. PARTIES

1. Plaintiff. The City of Seattle (“the City”) is a municipal corporation located in King

County and formed under the laws of the State of Washington. Seattle Public Utilities (“SPU”) is a

City Department.

2. Adams Residential Contracting, Inc. (“Adams”} is a Washington corporation doing

business in the State of Washington as a licensed contractor.

3. McDowell Northwest Pile King, Inc. (“McDowell”) is a Washington corporation

licensed in Washington as a licensed contractor.

COMPLAINT FOR DAMAGES - 1

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Il. VENUE
1. The Court has jurisdiction over the parties and the subject matter.
2. Venue is appropriate in King County Superior Court.

Ill. DAMAGE TO PLAINTIFF'S FACILTIES

1. The property at 3503 45" Avenue NE, Seattle, WA is owned by John L. Starks and
Jenness C. Starks, husband and wife.

2. In or about July 2017, SPU discovered two or more pipe piles going through a SPU
sewer main pipeline at 3503 45" Avenue NE, Seattle, WA.

3. The pipe piles were discovered to have entered the drainage and wastewater main
pipeline from the property at 3503 45" Avenue NE, Seattle, WA 98105.

4, On June 21, 2016, Adams applied for a permit with the Seattle Department of
Construction and Inspection to construct additions and alterations to the home on 3503 45"
Avenue NE, Seattle, WA 98105.

5. Adams was the general contractor and McDowell, a subcontractor, were both
involved in subsequent construction at the Starks property.

6. On August 11, 2016, Adams initiated a Washington One Call regarding construction
at the property. The construction was described to be done in the back yard of the property.

7. SPU promptly responded to the One Call by providing best available records
regarding identified but unlocatable drainage and wastewater sewer main pipelines going through
the property as provided for by RCW Chapter 19.122.030(4)(b)}(i11).

8. Adams subcontracted McDowell to provide and install pipe piles at the residence.

By September 13, 2016, McDowell completed the installation of pipe piles.

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9. During installation, McDowell drilled pipe piles into and through the drainage and
wastewater main pipelines that ran through the property and were identified on the map provided to
Adams.

10. McDowell failed to comply with RCW 19.122 and request a locate prior to
excavating. Had it requested a locate, it would have been on notice of the existence of identified but
unlocatable facilities in the project area.

11. Adams knew or should have known that the area that McDowell was drilling
contained an SPU drainage and wastewater main pipeline. Adams either failed to communicate the

information provided by SPU to McDowell or failed to appropriately supervise the job as the general

contractor.
12.‘ The piles driven by McDowell damaged the drainage and wastewater main pipeline
undemeath the property.

13. Due to this damage, SPU will have to undertake substantial repairs and rebuilding of

the drainage and wastewater pipelines in the area. The final cost of such work is expected to exceed

$1,000,000.
IV. FIRST CAUSE OF ACTION: RCW 19.22.040
1. Under RCW 19.122.020, McDowell is an excavator.
2. Under RCW 19.122.040, an excavator has a duty to take reasonable care to avoid

damaging underground facilities.
3. McDowell, as the excavator, failed to use reasonable care to avoid damaging

underground facilities.

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4, McDowell, as an excavator, failed to plan and perform excavation so as to avoid
damage to or minimize interference with underground facilities in and near the excavation area
including, but not limited to, the City’s drainage and wastewater main pipeline; and

5, As aresult of McDowell’s failure to fulfill its obligations under RCW 19.22.040, it
is liable for resulting damages and attorneys’ fees RCW 19.22.040(3) and (4).

V. SECOND CAUSE OF ACTION — RCW 19.122.070

1. McDowell did not call for a locate before excavating.

2. McDowell, as an excavator, had a nondelegable duty to comply with RCW 19.122,
including requesting a locate. See RCW 19.122.040(3).

3. Where an excavator fails to request a locate, the excavator is liable for treble
damages, even if another entity has requested a locate. This is because excavators are expected to
be the experts, and general contractors might not appreciate that utility owners are not required to
mark all known facilities in response to a locate request, among other reasons.

4, McDowell is liable to the City for treble damages and attorney’s fees.

VI. THIRD CAUSE OF ACTION — NEGLIGENCE
1. McDowell owed the City a duty to ascertain the location of the abandoned sewer line
before excavating and to avoid causing damage to the City’s utilities.

2. McDowell drilled pipe piles into the property at 3503 45"" Ave NE and through the
City’s drainage and wastewater main pipeline causing damage to the City’s facilities.

3, McDowell breached its duty of care owed to the City and is liable to the City for the
cost of repairs the City is required to undertake to maintain the City’s facilities.

4, Adams, as the general contractor, owed the City a duty of care regarding potential
damage to City property from the project.

COMPLAINT FOR DAMAGES - 4 Setle Cty atpney MES

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5. Adams breached its duty to the City by failing to properly oversee subcontractors
working as its agents, including but not limited to McDowell. This failure proximately caused the
damage to the SPU’s facilities.

6. Adams also breached its duty when it failed to communicate to McDowell the
existence of identified but unlocatable facilities in the project area. This failure proximately caused
the damage to the SPU’s facilities.

VII. PRAYER FOR RELIEF

1. Wherefore, the City prays for the following relief:

2. A monetary award in an amount yet to be determined, in excess of $1,000,000.00, for
damage caused by the drilling of pipe piles the City’s drainage and wastewater main pipeline.

3. Treble damages from McDowell pursuant to RCW 19.122.070.

4. An award of costs and statutory attorney’s fees as to all defendants and full attorneys’
fees as to McDowell pursuant to RCW 19.122.040(4) and other legal and equitable bases.

5. Such other relief as the court deems just and equitable.

DATED this 8" day of August, 2019.

PETER 8S. HOLMES
Seattle City Attorney

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COMPLAINT FOR DAMAGES - 5

 
